Filed 8/26/24 P. v. Garrett CA2/4

   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                         SECOND APPELLATE DISTRICT
                                       DIVISION FOUR



 THE PEOPLE,                                                  B334401

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. A955129)
           v.

 MARCUS LEWIS GARRETT,

           Defendant and Appellant.


     APPEAL from a judgment of the Superior Court of
Los Angeles County, Laura F. Priver, Judge. Affirmed.
     Richard D. Miggins, under appointment by the Court of
Appeal, for Defendant and Appellant.
     No appearance for Plaintiff and Respondent.
       Appellant Marcus Lewis Garrett appeals from an order
denying his second petition for resentencing under Penal Code
section 1172.6.1 His appellate counsel filed a brief under People
v. Delgadillo (2022) 14 Cal.5th 216 (Delgadillo), and appellant
filed three supplemental briefs. We review the contentions
appellant raises in his supplemental briefing and affirm the
order.
       FACTUAL AND PROCEDURAL BACKGROUND
I.     Conviction
       An information filed on January 7, 1988 charged appellant
and codefendant Darrell Tolliver with the June 14, 1987 robbery
(§ 211) and murder (§ 187, subd. (a)) of Francisco Arambula. The
information alleged as to both appellant and Tolliver that a
principal was armed with a firearm during the offenses
(§ 12022, subd. (a)). The information further alleged, as to
appellant only, a robbery-murder special circumstance
(§ 190.2, subd. (a)(17)) and a personal use of a firearm
(§ 12022.5).
       The prosecution tried the case exclusively on a felony
murder theory. (People v. Garrett (Nov. 21, 2022, B298495)
[nonpub. opn.] (Garrett III), citing People v. Garrett (Oct. 20,
1993, B057405) [nonpub. opn.] (Garrett I).) The jury found
appellant guilty of both robbery and murder, and found the
personal use firearm allegations true on both counts. (Id.)
However, the jury found the robbery-murder special circumstance



1     Effective June 30, 2022, former section 1170.95 was
renumbered to section 1172.6 with no change in text. (Stats.
2022, ch. 58, § 10.) All further undesignated statutory references
are to the Penal Code.



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allegation not true. (Id.) On October 19, 1989, the trial court
sentenced appellant to a total term of 27 years to life. (Id.)
       On direct appeal, appellant argued that the trial court
erred by failing to instruct the jury on the lesser-included offense
of involuntary manslaughter. (Garrett III, supra, citing Garrett
I.) A different panel of this court rejected his argument and
affirmed, holding that under the felony murder rule, any killing
perpetrated in the commission of a designated felony is a first
degree murder. (Ibid.)
II.    First Resentencing Petition
       In January 2019, appellant filed a petition for resentencing
under section 1172.6. (Garrett III, supra.) Appellant asserted
that he had been convicted of first or second degree murder under
the felony murder rule or natural and probable consequences
doctrine and was entitled to resentencing. Appellant requested
the appointment of counsel. (Ibid.)
       On March 29, 2019, the trial court summarily denied
appellant’s petition without appointing counsel. It concluded
that appellant was ineligible for relief as a matter of law because
he was the actual killer. (Garrett III, supra, citing People v.
Garrett (May 22, 2020, B298495) [nonpub. opn.] (Garrett II.))
       Appellant appealed, and a different panel of this court
affirmed. The court reasoned, “defendant was convicted of
murder under the felony murder rule, [but] the jury found that
defendant personally used a gun in the commission of the
murder. Since the victim died of gunshot wounds, and there was
evidence of only one gun being used, the jury necessarily found
that defendant was the actual killer. Therefore, as a matter of
law, defendant was not eligible for resentencing under section
[1172.6].” (Garrett III, supra, citing Garrett II, supra.)




                                 3
       The Supreme Court granted appellant’s petition for review.
(Garrett III, supra.) On September 28, 2022, the Supreme Court
transferred the matter back to this Division with directions to
vacate Garrett II and reconsider the cause in light of People v.
Lewis (2021) 11 Cal.5th 952 (Lewis). (Ibid.)
       In the unpublished opinion resulting from that transfer,
Garrett III, supra, a different panel of this court again affirmed.
Though it agreed with appellant that the trial court erred by not
appointing counsel for him in light of his facially sufficient
petition, it found the error was harmless. (Garrett III, supra.) It
found that the “record of defendant’s conviction demonstrates
that he is ineligible for relief as a matter of law, as he was
charged and convicted of first degree felony murder as the actual
killer of the victim.” (Id.) Garrett III further concluded that the
information charged only appellant as the actual killer, and the
jury instructions and jury findings “demonstrate that the jury
necessarily convicted defendant not as an aider and abettor, but
as the actual killer of the victim.” (Id.) Because it was
“undisputed that (a) ‘there was evidence of only one gun being
used,’ and (b) ‘the victim died of gunshot wounds,’” “by finding
defendant personally used a gun during the commission of the
murder, the jury necessarily found that he was the actual shooter
and killer of the victim.” (Id.)
III. Current Resentencing Petitions
       Appellant filed two substantively identical resentencing
petitions on August 31, 2023 and September 7, 2023. The trial
court considered the petitions to be a single request for
resentencing, as do we. Citing People v. Clayton (2021) 66
Cal.App.5th 145 (Clayton), appellant asserted that the jury’s not
true finding on the robbery murder special circumstance




                                 4
necessarily meant that he did not act with reckless disregard for
human life and therefore was entitled to resentencing. Appellant
requested the appointment of counsel, to which he asserted he
was entitled under Lewis, supra, 11 Cal.5th 952.
       On September 8, 2023, the trial court considered the
matter in chambers. It denied the petition without appointing
counsel and issued a written order that summarized the previous
section 1172.6 proceedings and stated the following about the
current petitions:
       “The Petitioner, in his new petition, relies upon People v.
Clayton[, supra,] 66 Cal.App.5th [at p.] 145 as legal precedent.
However, that case is irrelevant given the facts of petitioner’s
case. Clayton is a discussion regarding whether or not a not true
finding on a felony-murder special circumstance allegation
constitutes a prior finding by the jury that the petitioner did not
act with reckless indifference to human life or was not a major
participant in the underlying felony. [Citation.]
       “These theories of liability were not the basis of the denial
of the petitioner’s previous petition. The petitioner was the
actual killer. Therefore, he remains in the same situation, and is
not entitled to relief.
       “For the reasons set forth above, the defendant’s request is
denied.”
       Appellant timely appealed.
                           DISCUSSION
       Appellant’s appointed appellate counsel filed a brief raising
no issues and requesting that this court proceed pursuant to
Delgadillo, supra, 14 Cal.5th 216. Appellant was advised of his
right to file a supplemental brief (see Delgadillo, supra, 14
Cal.5th at pp. 231-232), and he subsequently made three filings,




                                 5
on April 24, April 29, and May 3, 2024. We evaluate the
arguments set forth in those supplemental briefs. (See id. at p.
232 [“If the defendant subsequently files a supplemental brief or
letter, the Court of Appeal is required to evaluate the specific
arguments presented in that brief and to issue a written
opinion”].)
        Appellant first argues that the trial court “went beyond its
duty at the prima facie stage” by making a factual finding that he
was the actual killer, or “mischaracterizing” him as such,
notwithstanding the jury’s not true finding on the robbery
murder special circumstance allegation. We disagree.
        The prima facie inquiry under section 1172.6, subdivision
(c) is limited. (Lewis, supra, 11 Cal.5th at p. 971.) The trial court
generally must accept the petitioner’s factual allegations as true
and may not reject them on credibility grounds prior to
conducting an evidentiary hearing. (Ibid.) “‘However, if the
record, including the court’s own documents, “contain[s] facts
refuting the allegations made in the petition,” then “the court is
justified in making a credibility determination adverse to the
petitioner.”’” (Ibid.) Here, the record contained facts refuting
appellant’s allegation that he was not the actual killer. The jury
found true beyond a reasonable doubt that appellant personally
used the sole gun present during the crimes. The victim died of
gunshot wounds inflicted during the crime. The only logical
conclusion from these facts is that appellant was the actual killer,
meaning that he personally killed the victim. (See People v. Vang
(2022) 82 Cal.App.5th 64, 88 [“the term ‘actual killer’ was
intended to limit liability for felony murder … to the actual
perpetrator of the killing, i.e., the person (or persons) who
personally committed the homicidal act”]; People v. Garcia (2020)




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46 Cal.App.5th 123, 152 [“The actual killer is the person who
personally kills the victim, whether by shooting, stabbing,” or by
some other method].) Indeed, a different panel of this court
previously concluded appellant was ineligible for relief as a
matter of law for this very reason. (Garrett III, supra.)
       The jury’s not true finding on the special circumstance
allegation does not change this conclusion. It is possible for a
person to kill and then rob a victim, or to complete a robbery
before killing the victim. Under such circumstances, the
perpetrator would be guilty of both robbery and murder, but not
the requisite murder during the commission of the robbery. (See
§ 190.2, subd. (a)(17)(A).) The trial court did not make its own
findings or otherwise exceed the scope of its duty at the prima
facie stage. Nor did it commit reversible error by declining to
appoint counsel for appellant, who is ineligible for relief as a
matter of law. (See Lewis, supra, 11 Cal.5th at p. 974.)
       Relying on Clayton, supra, 66 Cal.App.5th 145, and People
v. Harrison (2021) 73 Cal.App.5th 429 (Harrison) appellant next
contends his conviction and sentence are now “in violation of all
statutory proceedings of SB 1437 [Senate Bill No. 1437, Stats.
2018, ch. 1015]” because of the jury’s finding on the special
circumstance allegation. These cases are not on point.
       In Clayton, defendant Clayton was one of four men who
committed a robbery of a jewelry store. (Clayton, supra, 66
Cal.App.5th at p. 149.) Two of the men held one of the victims,
Gary Kim, at gunpoint, while Clayton, who was unarmed,
dragged the other victim, Jenny Kim, to the back of the store,
rifled through her pockets, and demanded she open the cash
register. While Clayton was with Jenny, one of his compatriots
fatally shot Gary in the back of the head. (Id. at pp. 149-150.)




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Clayton was charged with and convicted of two counts of robbery
and one count of murder under a felony murder theory. His jury
found true an allegation that a principal was armed with a
firearm, but found a robbery-murder special circumstance
untrue. (Id. at p. 150.) Clayton’s conviction and sentence of 33
years, four months to life were affirmed on appeal. He later filed
a petition for resentencing under section 1172.6. The trial court
denied the petition at the prima facie stage after “[d]eclaring that
the jury’s not true finding on the special-circumstance allegation
was irrelevant to its determination of whether there was
sufficient evidence to support a conviction of first degree murder
under a felony-murder theory” and making the factual finding
that Clayton “had been a major participant who acted with
reckless indifference to human life.” (Ibid.)
       The appellate court reversed. It concluded that Clayton’s
petition stated a prima facie case for relief and that the trial
court improperly “engaged in judicial factfinding based on its
analysis of evidence . . . to conclude that [Clayton] was a major
participant in the robbery who acted with reckless indifference to
human life.” (Clayton, supra, 66 Cal.Ap.5th at p. 154.) The
appellate court stated that by finding the robbery murder special
circumstance not true, the jury “had already unanimously found
the evidence insufficient to prove beyond a reasonable doubt that
[Clayton] was an aider and abettor with actual malice or was a
major participant in the robbery who acted with reckless
indifference to human life. Given this finding, there was nothing
in the record of conviction to support the superior court’s
determination at the prima facie stage that appellant was
ineligible for relief under [former] section 1170.95 as a matter of
law. The trial court was not entitled to substitute its own




                                 8
findings of fact for the jury’s to support its determination that
[Clayton] should still be liable for felony murder despite the
amendments to section 189.” (Ibid.)
        Appellant correctly observes that his jury made the same
finding as the jury in Clayton. The similarities between the cases
end there, however. Clayton was not the actual killer. The only
ways he could still be convicted of murder under the 2019
amendments to section 189 were if he were an aider and abettor
who acted with the intent to kill or a major participant in the
underlying felony and acted with reckless indifference to human
life. (See § 189, subd. (e).) The jury’s not true finding on the
robbery murder special circumstance allegation necessarily
meant that it rejected those possibilities. The trial court erred by
making its own finding to the contrary. Here, the jury also found
that appellant was not an aider and abettor or a major
participant who acted with reckless indifference. But, crucially,
it additionally found that he was the actual killer. Appellant is
therefore precluded from relief under section 1172.6 as a matter
of law.
        Harrison, supra, 73 Cal.App.5th 429, is also more closely
analogous to Clayton than to the instant case. In Harrison, the
factfinder at Harrison’s trial specifically found that the
prosecution failed to prove that Harrison was the actual killer of
the victim, that Harrison aided and abetted the actual killer with
the intent to kill, or was a major participant in the crime who
acted with reckless indifference to human life. (Id. at p. 435.) Yet
during its prima facie review of Harrison’s petition for
resentencing under section 1172.6, the trial court “found it could
reexamine the question of whether Harrison was a major
participant and acted with reckless indifference in the robbery of




                                 9
[the victim], despite the first trial court’s acquittal of Harrison on
the special circumstance under section 190.2, subdivision (a)(17)
on such a theory.” (Id. at p. 436.) The appellate court concluded
this was error, because the trial court “necessarily had to weigh
the evidence from Harrison’s trial.” (Id. at p. 438.) Here, in
contrast, the trial court did not reweigh evidence or revisit the
jury’s factual findings; it relied on the jury’s findings that
appellant was the actual killer.
         Appellant additionally argues that substantial evidence in
the record demonstrates he was not the actual killer.
Specifically, he contends that witness Maria Montalvo testified
that the man who fired the shots jumped into the victim’s truck,
but appellant’s fingerprints were not found on either the outside
or inside of the truck, while his codefendant’s were. “The mere
filing of a section [1172.6] petition does not afford the petitioner a
new opportunity to raise claims of trial error or attack the
sufficiency of the evidence supporting the jury’s findings.”
(People v. Farfan (2021) 71 Cal.App.5th 942, 947.) “[A] relevant
jury finding is generally preclusive in section 1172.6 proceedings,
i.e., it ‘ordinarily establish[es] a defendant’s ineligibility for
resentencing under Senate Bill 1437 and thus preclude[s] the
defendant from making a prima facia case for relief.’” (People v.
Curiel (2023) 15 Cal.5th 433, 453-454, quoting People v. Strong
(2022) 13 Cal.5th 698, 710.) Appellant has not identified any
significant changes in the law justifying a departure from this
general rule. (See People v. Curiel, supra, at pp. 454-455.)
         We have examined the record and are satisfied appointed
counsel fully complied with the responsibilities of appellate
counsel and no arguable issues exist. (See Delgadillo, supra, 14
Cal.5th at p. 232.) Accordingly, to the extent appellant asserts




                                 10
his counsel rendered ineffective assistance and requests new
counsel, we reject his argument and deny his request.
                          DISPOSITION
      The order denying appellant’s section 1172.6 petition is
affirmed.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS


                           COLLINS, J.

We concur:



CURREY, P.J.



ZUKIN, J.




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